
Wednesday, November 11th, the president pronounced the following opinion of the ■Court.
“The Court is of opinion, that the condition of the bond in this case being made a part of the declaration by oyer, and that condition only showing that a part of the money, thereby secured and provided for, had become due at the time of the institution of the suit, the plea of payment, put in by the defendant, only extended to such sum or sums, and not to those which might become due in future; and that issue being joined upon that plea, sc understood, the judgment of the County Court was correct so far as it went; but that the same was erroneous in not reserving liberty to the *694plaintiffs to resort to the said judgment by scire facias to recover such other damages as might thereafter arise under the condi-tion of the bond; and that the judgment of the Superior Court of law is also erroneous for this last omission.”
*Both judgments reversed, and judgment entered, that- the appellee recover against the appellants 2,000 dollars, the debt in the declaration mentioned, and his costs, &amp;c. ; but this judgment may be •discharged by the payment of 439 dollars 20 cents, and the said costs; ‘1 liberty being reserved to the appellee to resort to the said judgment by scire facias, to recover such other damages, as may have arisen since the institution of this suit, or may hereafter arise under the condition of the said bond.”
